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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF VERMONT

OTTER CREEK SOLAR LLC,                        :
                                              :
               Plaintiff,                     :
                                              :
                        v.                    :       File No. 1:16-cv-00013-jgm
                                              :
GREEN MOUNTAIN POWER                          :
CORPORATION and VEPP, Inc.,                   :
                                              :
            Defendants.                       :
_________________________________             :

                    RULING ON DEFENDANTS’ MOTIONS TO DISMISS
                    AND PLAINTIFF’S MOTION TO FILE A SUR-REPLY
                                    (Docs. 4, 6, 10)

I.     Introduction

       Plaintiff Otter Creek Solar LLC (“Otter Creek”) filed suit against Green Mountain Power

Corporation (“GMP”) and VEPP, Inc. (“VEPP”) (collectively, “Defendants”) alleging GMP--or in

the alternative VEPP--is in violation of the Federal Power (“FPA”) and Public Utilities Regulatory

Policies (“PURPA”) Acts. (Doc. 1 (“Compl.”).) Otter Creek seeks declaratory and injunctive relief

and damages against GMP for violating Otter Creek’s rights under the FPA and PURPA by refusing

to agree to purchase energy and capacity from Otter Creek’s solar projects at the long-term rate

required by PURPA. Id. ¶ 12. Because GMP has asserted VEPP has the obligation to purchase the

energy and capacity from Otter Creek, Otter Creek seeks relief against VEPP in the alternative. Id.

¶ 13. GMP and VEPP move to dismiss for lack of subject matter jurisdiction, failure to state a

claim, and failure to exhaust administrative remedies under Federal Rules of Civil Procedure 12(b)(1)

and 12(b)(6). (Docs. 4, 6.) Otter Creek opposes the motions (Doc. 7) and Defendants filed replies

(Doc. 8, 9). Otter Creek moves for leave to file a surreply in further response to GMP’s motion.

(Doc. 10.) GMP opposes the motion. (Doc. 12.) The motion to file a surreply is GRANTED.
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II.     Background

        The following facts are assumed to be true for purposes of the pending motions and are

gleaned from the complaint. Otter Creek Solar LLC is the owner and developer of small solar

facilities in Vermont that it alleges will be “qualified facilities.”1 Green Mountain Power

Corporation is a Vermont retail electric company with a principal place of business in Colchester,

Vermont. GMP is regulated by the Vermont Public Service Board (“PSB”). Vt. Stat. Ann. Tit. 30,

§ 218. VEPP, Inc., a Vermont corporation, is the entity designated by the Vermont PSB as the

agent and facilitator for certain energy sales.

        On May 1, 2013, Otter Creek filed a petition for enforcement against the PSB with the

Federal Energy Regulatory Commission (“FERC”). On June 27, 2013, FERC issued a notice of

intent not to act. Otter Creek Solar LLC, 143 FERC ¶ 61,282 (2013). Otter Creek had argued the

Vermont PSB’s “avoided cost rate pricing determination and mechanism in [its] feed-in tariff

program, referred to as . . . SPEED,” violated PURPA and the [FPA]. Id.

        Otter Creek alleges it began discussions with GMP regarding contracts under PURPA in

December 2013. On January 15, 2016, Otter Creek made a final offer to GMP by sending complete

and executed power purchase agreements (“PPAs”). Otter Creek offered three options for the long-

run avoided cost rate to be paid: (1) a fixed level rate of 15.5 cents per kilo-watt-hour (“KWh”);

(2) a fixed level rate of 12.8 cents per KWh; and (3) a variable rate generally increasing over time.

The first option was based on the 25-year avoided cost rate, including environmental attributes, for

similarly situated solar projects as determined by the PSB; the second option was based on the 25-

year avoided costs, not including environmental attributes, for similarly situated solar projects as


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         To be a “qualified facility,” or QF, for purposes of PURPA, a power producer must meet
the requirements set forth at 18 C.F.R. § 292.203 and must comply with the procedures of 18 C.F.R.
§ 292.207 to obtain QF status.

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GMP testified to the PSB, and the third option was based on year-by-year projected avoided costs as

determined by an energy consulting firm. Otter Creek offered to allow VEPP to be the obligor and

purchaser as an alternative to GMP. Neither GMP nor VEPP returned executed copies of the

PPAs. Ten days later, on January 25, 2016, this suit was commenced.

        Contrary to its 2013 petition to FERC, Otter Creek here alleges GMP violated the FPA and

PURPA because GMP has an obligation to purchase any and all energy and capacity offered to it by

Otter Creek’s qualified facilities and it refused to purchase the energy and capacity offered. Compl.

¶¶ 33-35 (Count I). Otter Creek alleges, in the alternative, if the Court finds GMP has no obligation

to purchase the energy and capacity of Otter Creek’s qualified facilities because VEPP has the

obligation, VEPP violated the FPA and PURPA. Id. ¶¶ 37-38 (Count II). As a result, Otter Creek

has been unable to obtain financing to construct its qualified facilities.

III.    Discussion

        A motion to dismiss tests the legal rather than the factual sufficiency of a complaint.

See, e.g., Sims v. Ortiz, 230 F.3d 14, 20 (2d Cir. 2000). The Court will grant a motion to dismiss

only if the pleader fails to show a “plausible entitlement to relief.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007). The Court must accept all facts alleged in the pleading as true and draw all

reasonable inferences in favor of the pleader. Natural Res. Def. Council v. Johnson, 461 F.3d 164,

171 (2d Cir. 2006). When resolving a jurisdictional question, the Court may consider materials

outside the pleadings. Hamm v. United States, 483 F.3d 135, 137 (2d Cir. 2007). The plaintiff bears

the burden of proving subject matter jurisdiction by a preponderance of the evidence. Id.

        Under the Federal Power Act, 16 U.S.C. § 791, et seq., Congress granted FERC exclusive

authority to regulate sales of electricity at wholesale in interstate commerce. See 16 U.S.C.

§ 824(b)(1). States may not act in this area unless Congress creates an exception. Id. § 824(b).


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In 1978, Congress amended the FPA to create one such exception by enacting PURPA, 16 U.S.C.

§ 824a-3. Prior to the enactment of PURPA, traditional electric utilities hesitated from purchasing

power from small power producers. To overcome this obstacle, Congress enacted PURPA, which

directed FERC to promulgate rules to encourage cogeneration and small power production,

including rules requiring electric utilities to purchase electricity from and sell electricity to producers

deemed “qualifying” facilities. See id. § 824a-3(a).

        Section (a) of PURPA requires FERC to prescribe rules as it determines necessary to

encourage small power production, including rules requiring electric utilities to offer to purchase

energy from qualifying facilities. Id. § 824a-3(a). Section (f) then requires state regulatory authorities

and nonregulated electric utilities to implement the rules prescribed by FERC. Id. § 824a-3(f).

Accordingly, a state may regulate wholesale sales by qualifying facilities, i.e., power production

facilities that have no more than 80 megawatts of capacity and use renewable generation technology.

Id. § 824a–3(f)(1); see also id. § 796(17)(A). Those facilities must receive a price for their electricity

that is just and reasonable to consumers and non-discriminatory to QFs, generally determined to be

equal to the buying utility’s “avoided costs,” i.e., the costs the utility would have otherwise incurred

in procuring the same quantity of electricity from another source. Id. § 824a–3(b); 18 C.F.R.

§ 292.304(b)(2).

        To emphasize, PURPA imposes obligations on each state regulatory authority to implement

FERC’s PURPA regulations. See 16 U.S.C. § 824a–3(f)(1) (“[E]ach State regulatory authority shall,

after notice and opportunity for public hearing, implement [a new FERC] rule (or revised rule) for

each electric utility for which it has ratemaking authority.”).

        PURPA also provides FERC and certain private parties with the ability to enforce the

requirement that states implement PURPA. Section (h) provides that, if a state regulatory authority


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or a nonregulated electric utility fails to implement FERC’s rules, FERC may institute an

enforcement action. 16 U.S.C. § 824a–3(h). Section (h) also permits a QF to petition FERC to

initiate an enforcement action and, if FERC fails to do so within sixty days of the filing of the

petition, the QF may bring an action in a federal district court to require the state authority or

nonregulated utility to comply with section (f)’s requirement that FERC’s rules be implemented. Id.

§ 824a–3(h)(2)(B). Importantly, “PURPA provides a private right of action to [QF’s] to enforce a

state's obligations under PURPA.” Allco Fin. Ltd. v. Klee, 805 F.3d 89, 92 (2d Cir. 2015) (citing

16 U.S.C. § 824a–3(h)(2)(B)) (emphasis added).

        PURPA “directs FERC, in consultation with state regulatory authorities, to promulgate ‘such

rules as it determines necessary to encourage . . . small power production,’ including rules requiring

utilities to offer to sell electricity to, and purchase electricity from, [QFs].” FERC v. Mississippi,

456 U.S. 742, 751 (1982) (quoting 16 U.S.C. § 824a-3(a)). As required, FERC rules require electric

utilities to purchase all power generated by qualified facilities at rates that are just and reasonable to

the electric consumer and non-discriminatory with regard to QFs. 18 C.F.R. § 292.303-04. PURPA

“establishes a program of cooperative federalism that allows the States, within limits established by

federal minimum standards, to enact and administer their own regulatory programs, structured to

meet their own particular needs.” FERC v. Mississippi, 456 U.S. at 767 (internal quotation marks

and citation omitted). To ensure utilities are properly implementing the requirements of PURPA,

Congress requires each state agency with regulatory authority over electric public utilities to

implement PURPA’s provisions. 16 U.S.C. § 824a-3(f)(1). FERC’s regulations “afford state

regulatory authorities . . . latitude in determining the manner in which the regulations are to be

implemented. [A] state commission may comply with the [PURPA] statutory requirements by

issuing regulations, by resolving disputes on a case-by-case basis, or by taking any other action


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reasonably designed to give effect to FERC’s rules.” FERC v. Mississippi, 456 U.S. at 751.

Accordingly, if a state chooses to regulate electric utilities, as has Vermont here, it must implement

FERC rules. Id.

        FERC rules acknowledge two ways in which a QF can establish a right to sell power to an

electric utility. The utility and the facility can negotiate a rate at which the utility will purchase the

electric power, 18 C.F.R. § 292.301(b)(1), or the facility can establish the right to require the utility to

purchase the power “pursuant to a legally enforceable obligation for the delivery of energy or

capacity over a specified term,” 18 C.F.R. § 292.304(d)(2).2 “[S]tates must provide for legally

enforceable obligations as distinct from contractual obligations, but it is up to the States, not

[FERC], to determine the specific parameters of individual QF power purchase agreements,

including the date at which a legally enforceable obligation is incurred under State law.” Power Res.

Grp., Inc. v. Pub. Util. Comm’n of Tex., 422 F.3d 231, 238 (5th Cir. 2005). “FERC has given each

state the authority to decide when a LEO [legally enforceable obligation] arises in that state.” Power

Res. Grp., 422 F.3d at 239.

        In 1979, subsection (a)(8) was added to Section 209 of the Vermont Statutes providing the

Vermont Public Service Board with jurisdiction “in all matters respecting . . . (8) [t]he sale to electric

companies of electricity generated by facilities . . . (C) which have a power production capacity

which . . . is not greater than 80 megawatts.” Vt. Stat. Ann. tit. 30, § 209(a)(8)(C). In 1983, under

the authority of Section 209(a)(8)(C), the Vermont PSB promulgated Board Rule 4.100 entitled

Small Power Production and Cogeneration.3 PSB Rule 4.101 notes its purpose is “to encourage


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            Importantly, the concept of “legally enforceable obligation” does not appear in PURPA.
It arises from the implementing regulations promulgated by FERC.
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          Rule 4.100 has been amended twice and is currently undergoing a revision process “to
investigate whether there is a more efficient procedural mechanism to implement [PURPA].” Rule

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development of electricity through use of . . . renewable resources . . . while giving due consideration

to the duties and responsibilities of utilities. The rule implements the provisions of . . . 16 U.S.C.

§ 824a-3.” In accordance with FERC rules, Rule 4.102 notes the rule does not prohibit voluntary

contracts. Rule 4.104 requires utilities to purchase electricity offered by any QF within Vermont.

For QFs larger than 100 kilowatts, the purchase is made on a pro rata basis through the purchasing

agent; for QFs smaller than 100 kilowatts, the purchase is made directly from the QF unless the QF

elects to sell to the purchasing agent. The PSB must approve contracts between the purchasing

agent and QFs.

        Otter Creek alleges jurisdiction based on federal question, 28 U.S.C. § 1331, and diversity,

28 U.S.C. § 1332, jurisdiction as well as under 16 U.S.C. § 825p of the Federal Power Act. Compl.

¶¶ 17-19. GMP and VEPP move to dismiss arguing Otter Creeks claims are “as-applied” challenges

that may only be brought in state court under 16 U.S.C. § 824a-3(g). (Doc. 4 at 6-9; Doc. 6-1 at 1

(adopting GMP’s memorandum).) Thus, Defendants argue this Court has no subject matter

jurisdiction--and the plaintiffs fail to state a claim--because no federal cause of action for an “as-

applied” challenge exists under PURPA. Otter Creek argues its claim is not an “as-applied”

challenge at all because it is not making a claim under a Vermont program; Otter Creek argues it

does not seek “‘to enforce any requirement established by the Vermont PSB.’” (Doc. 7 at 4

(quoting 16 U.S.C. § 824a-3(g)(2)).) Otter Creek asserts “Defendants’ motions to dismiss fail for

one simple reason–[PURPA] Section 210(h)(1).” (Doc. 7 at 1.) It argues that section “carves out”

actions related to QF operations from the scope of actions covered by the state jurisdictional grant

in 16 U.S.C. § 824a-3(g). Id. Section 210(h)(1) is codified at 16 U.S.C. § 824a-3(h)(1).



4.100 Workshop Proceeding, www.psb.vermont.gov/statutesrulesandguidelines/rule4100 (last
visited Sept. 8, 2016). A Final Proposed Rule was filed with the Secretary of State on July 14, 2016.

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        To begin, Otter Creek overlooks the fact that Subsection (h) is entitled “Commission

Enforcement.” Indeed, FERC has noted Section (h)(1) gives it “exclusive enforcement authority

with regard to any rules prescribed by [it] under section 210(a) of PURPA [16 U.S.C. § 824a-3(a)]

‘with respect to any operations of an electric utility . . . or a qualifying small power production

facility which are subject to the jurisdiction of the Commission under Part II of the Federal Power

Act.’” Policy Statement Regarding the Commission’s Enforcement Role, 48 FR 29475-01 (1983)

(emphasis added) (quoting 16 U.S.C. § 824a-3(h)(1)). Under Part II of the FPA, FERC regulates

sales of electric power in interstate commerce. 16 U.S.C. § 824(b)(1). Because Otter Creek

concedes the wholesale sales at issue here are subject to FERC’s jurisdiction under Part II of the

FPA (Doc. 7 at 1), they are subject to FERC’s exclusive enforcement authority under 16 U.S.C.

§ 824a-3(h)(1).4 FERC v. Mississippi, 456 U.S. at 751 (“§ 210(h), 16 U.S.C. § 824a-3(h), authorizes


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           In its sur-reply, Otter Creek asserts “FERC explained long ago that federal jurisdiction
covered not only review and enforcement of State implementation but direct case-by-case review
and enforcement.” (Doc. 10-1 at 12 (citing 45 Fed. Reg. 12,214, 12,231 (Feb. 25, 1980).) Otter
Creek’s parenthetical fails to fully recount FERC’s explanation which states, in discussing review and
enforcement of PURPA:
         the Commission [FERC] believes that review and enforcement of implementation
         under section 210 [codified at 16 U.S.C. § 824a-3] of PURPA can consist not only of
         review and enforcement as to whether the State regulatory authority or nonregulated
         electric utility has conducted the initial implementation properly–namely, put into
         effect regulations implementing section 210 rules or procedures for that implemen-
         tation, after notice and an opportunity for a hearing. It can also consist of review
         and enforcement of the application by a State regulatory authority or nonregulated
         electric utility, on a case-by-case basis, of its regulations or of any other provision it
         may have adopted to implement the Commission’s rules under section 210.
45 Fed. Reg. at 12,231. Importantly, this statement followed the discussion of state court
jurisdiction. Id. (“persons can bring an action in State court to require the State regulatory
authorities or nonregulated utilities to implement these regulations”). It went on to state:
                  Section 210(h)(2)(A) [16 U.S.C. § 824a-3(h)(2)(A)] of PURPA states that the
         Commission may enforce the implementation of regulations under section 210(f).
         The Congress has provided not only for private causes of action in State courts to
         obtain judicial review and enforcement of the implementation of the Commission’s
         rules under section 210, but also provided that the Commission may serve as a
         forum for review and enforcement of the implementation of this program.

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FERC to enforce this requirement in federal court against any state authority or nonregulated utility;

if FERC fails to act after request any [QF] may bring suit.”).

        Subsection (h)(2)(A) provides FERC authority to enforce the requirements of subsection (f),

under which state regulatory authorities and nonregulated utilities must implement FERC’s rules for

QFs, against any state regulatory authority or nonregulated utility. 16 U.S.C. § 824a-3(h)(2)(A). It

states: “No enforcement action may be brought by the Commission [FERC] under this section

other than (i) an action against the State regulatory authority or nonregulated electric utility for

failure to comply with the requirements of subsection (f) or (ii) an action under paragraph (1).” Id.

While Subsection (h)(2)(B) does provide a private right of action to enforce the requirements of

16 U.S.C. § 824a-3(f) provided the private actor has first petitioned FERC, see 16 U.S.C. § 824a-

3(h)(2)(B, Otter Creek hangs its hat on Subsection(h)(1), ostensibly because Otter Creek has not

petitioned FERC with regard to this controversy. See Otter Creek Solar LLC, 143 FERC ¶ 61,282.

        Lastly, Otter Creek asserts this Court has exclusive jurisdiction under 16 U.S.C. § 825p,

(Doc. 7 at 1-2), which provides “exclusive jurisdiction of violations . . . and of all suits . . . brought to

enforce any liability or duty created by, or to enjoin any violation of this chapter or any rule,

regulation, or order thereunder” to the federal district courts. 16 U.S.C. § 825p. A jurisdictional

statute, Section 825p allows district courts to entertain actions authorized by other substantive

provisions of the law; it does not create a private right of action. The Supreme Court has explained

the concept with regard to § 27 of the Securities Exchange Act of 1934, its jurisdictional provision.

Section 27 grants “exclusive jurisdiction of violations . . . and of all suits . . . brought to enforce any

liability or duty created by [the Act] or the rules and regulations thereunder” to the federal district



Id. (emphasis added). Accordingly, Otter Creek’s assertion FERC’s statement supports federal court
jurisdiction is misplaced.

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courts. 15 U.S.C. § 78aa. The Court held § 27 “creates no cause of action of its own force and

effect; it imposes no liabilities. The source of plaintiff’s rights must be found, if at all, in the

substantive provisions of the 1934 Act which they seek to enforce, not in the jurisdictional

provision.” Touche Ross & Co. v. Redington, 442 U.S. 560, 576-77 (1979). This Court interprets

16 U.S.C. § 825p in accord with the Supreme Court’s interpretation of 15 U.S.C. § 78aa as the two

statutes are identical in jurisdictional language. If Otter Creek cannot point to a source of its cause

of action within PURPA, § 825p cannot provide it with a private right of action.

        PURPA requires administrative exhaustion for claims brought by QFs that are seeking to

vindicate specific rights conferred by PURPA. Allco Fin. Ltd., 805 F.3d at 91. Because Otter Creek

seeks to enforce a requirement of PURPA, namely the power purchase obligation of 16 U.S.C.

§ 824a-3(a) prescribed through FERC rules and implemented by the Vermont PSB, the state

regulatory authority, under 16 U.S.C. § 824a-3(f)(1), it cannot avoid the administrative exhaustion

requirement of 16 U.S.C. § 824a-3(h)(2)(B). Allco Fin. Ltd., 805 F.3d at 95 (determining PURPA’s

conferral of a private right of action requiring compliance with specific pre-lawsuit procedures

supports the “ordinary inference that the remedy provided in the statute is exclusive”) (internal

quotation marks and citation omitted).

        For purposes of the pending motion, Defendants do not dispute that Otter Creek is a

“qualified facility.” (Doc. 4 at 5.) Section 824a-3(a) empowers FERC to promulgate rules to

encourage small power production. Otter Creek’s claim is an attempt to enforce those rules,

including 18 C.F.R. § 292.304(d), requiring utilities to buy power from Otter Creek at a rate at or

below the avoided cost. Compl. ¶ 12. Section 824a-3(f) requires states to “implement” FERC’s

rules promulgated under 16 U.S.C. § 824a-3(a) by “issuing regulations, by resolving disputes on a

case-by-case basis, or by taking any other action reasonably designed to give effect to FERC’s rules.”


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FERC v. Mississippi, 456 U.S. at 751. Accordingly, the Vermont PSB has the responsibility to

implement the power purchase requirement. Id. at 759 (“PURPA, for all its complexity, contains

essentially three requirements: (1) § 210 [16 U.S.C. § 824a-3] has the States enforce standards

promulgated by FERC; (2) Titles I and II direct the States to consider specified ratemaking

standards; and (3) those Titles impose certain procedures on state commissions.” (Emphasis

added)).

        That Otter Creek is attempting to work outside the framework Vermont has created to

implement FERC’s rules does not relieve it of the obligation to exhaust administrative remedies

under 16 U.S.C. § 824a-3(h)(2)(B) if it seeks to obtain federal district court review of this

controversy. Otter Creek seeks to force GMP to contract but has not availed itself of the state of

Vermont’s implementation of FERC’s PURPA rules or of the state’s obligation to ensure its

regulated utility, GMP, is complying with the requirements of PURPA.

        This Court lacks jurisdiction to hear Otter Creek’s claim.

IV.     Conclusion

        Otter Creek’s motion for leave to file a sur-reply (Doc. 10) is GRANTED. For the reasons

set forth above, GMP’s motion to dismiss (Doc. 4) and VEPP’s motion to dismiss (Doc. 6) are

GRANTED.

        SO ORDERED.

        Dated at Brattleboro, in the District of Vermont, this 22nd day of September, 2016.


                                                /s/ J. Garvan Murtha
                                                Honorable J. Garvan Murtha
                                                United States District Judge




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